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 6   Attorneys for Defendant
     SAMANTHA SAMPSON
 7
 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  )   Case No. 2:17-cr-00126-MCE
                                                )
12                    Plaintiff,                )   STIPULATION REGARDING WAIVER OF
                                                )   PERSONAL APPEARANCE
13   vs.                                        )
                                                )
14   SAMANTHA SAMPSON,                          )   Date: December 3, 2020
                                                )   Time: 10:00 A.M.
15                    Defendant.                )   Judge: Hon. Morrison C. England, Jr.
                                                )
16                                              )

17   TO:    McGREGOR W. SCOTT, UNITED STATES ATTORNEY AND ROGER YANG,
            ASSISTANT UNITED STATES ATTORNEY, COUNSEL FOR PLAINTIFF:
18
            On March 30, 2020, Chief United States Judge Mueller issued General Order 614,
19
     “Coronavirus Public Emergency Authorizing Video-teleconferencing and Telephone
20
     Conferencing for Criminal Proceedings Under Section 15002 of the Coronavirus Aid, Relief and
21
     Economic Security (CARES) Act,” which authorizes the use of videoconferencing – or
22
     telephone phone conferencing if videoconference is not reasonably available – in various
23
     criminal proceedings, including Probation and supervised release revocation proceedings under
24
     Fed. R. Crim. P. 32.1. See Gen. Order 614(1)(f).
25
            Ms. Sampson has an interest in resolving her case by proceeding to the Dispositional
26
     hearing via video-teleconference. Were this Court to delay the hearing until a time when the
27
     proceeding may be held in person, Ms. Sampson’s interest in timely resolving her case would be
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                                                     -1-
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 1   thwarted. The public also has an interest in proceeding toward resolution of the case in a timely

 2   manner.

 3          In light of the foregoing, the parties stipulate to Ms. Sampson’s appearance by
 4   videoteleconference pursuant to the CARES Act.
 5                                                Respectfully Submitted,
 6                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 7
 8   Dated: December 1, 2020                      /s/ Hannah Rose Labaree
                                                  HANNAH ROSE LABAREE
 9                                                Assistant Federal Defender
                                                  Attorneys for
10                                                SAMANTHA SAMPSON
11
     Dated: December 1, 2020                      /s/ Roger Yang
12                                                ROGER YANG
                                                  Assistant United States Attorney
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 1                                              ORDER

 2          Pursuant to the defendant’s request for waiver of in-person appearance, and good cause
 3   appearing, this Court specifically finds that:

 4          1)     The Dispositional hearing in this case is authorized to be held via
 5                 videoteleconference under section 15002 of the CARES Act and local General
                   Order 614;
 6
 7          2)     The defendant has waived her physical presence at the hearing and consents to
                   remote hearing by videoconference; and
 8
 9          3)     Therefore, under the Court’s authority under § 15002(b) of the CARES Act and
                   General Order 614, the Judgment & Sentencing hearing in this case will be
10                 conducted by videoconference.
11
            IT IS SO ORDERED.
12
     Dated: December 2, 2020
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